                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      at CHATTANOOGA

 UNITED STATES OF AMERICA                      )       MATTICE/CARTER
                                               )
         v.                                    )       CASE NO. 1:10-CR-103
                                               )
 ALEXIS JOE SAUSEDA                            )




                                   REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on November 18,

 2010. At the hearing, defendant entered a plea of guilty to Counts One, Two, and Seven of the

 Indictment in exchange for the undertakings made by the government in the written plea

 agreement. On the basis of the record made at the hearing, I find that the defendant is fully

 capable and competent to enter an informed plea; that the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; that it is made voluntarily and free

 from any force, threats, or promises, apart from the promises in the plea agreement; that the

 defendant understands the nature of the charge and penalties provided by law; and that the plea

 has a sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to Counts One, Two, and Seven of

 the Indictment be accepted, that the Court adjudicate defendant guilty of the charges set forth in

 Counts One, Two, and Seven of the Indictment, and that the written plea agreement be accepted

 at the time of sentencing. I further recommend that defendant remain in custody until sentencing

 in this matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement,

 and imposition of sentence are specifically reserved for the district judge.

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        The defendant’s sentencing date is scheduled for Monday, March 21, 2011, at 2:00 pm.



                                              s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right
 to challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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